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15                         IN THE UNITED STATES DISTRICT COURT

16                      FOR THE EASTERN DISTRICT OF CALIFORNIA

17

18 UNITED STATES OF AMERICA                          ) Case No.: 1:08-CV-01786
                                                     )
19                           Plaintiff,              )
                                                     )
20         vs.                                       )
                                                     )
21 ORGANIC PASTURES DAIRY COMPANY,                   ) [PROPOSED] ORDER ON UNITED STATES’
   LLC, a corporation, and MARK McAFEE, an           ) REQUEST TO SEAL
22 individual,                                       )
                                                     )
23                                                   )
                            Defendants.              )
24                                                   )
                                                     )
25                                                   )
                                                     )
26                                               )

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                               [PROPOSED] ORDER ON REQUEST TO SEAL
        Case 1:08-cv-01786-JLT-SAB Document 70 Filed 04/23/24 Page 2 of 2


 1          Contemporaneously herewith, the United States has filed a Notice of Request to File

 2 Documents Under Seal. The United States requests leave to publicly file redacted versions of the

 3 following documents and place unredacted versions of the documents under seal in order to protect

 4 Defendants’ trade secrets or confidential commercial information (CCI):

 5               1. Declaration of Darla R. Bracy and Exhibits A, B, C, D, E, F, G, H, J, K, L, M, N, O,

 6                  P, Q, R, S, T, FF, GG, HH, JJ, KK, and LL thereto;

 7               2. Exhibit B to Declaration of Hua Wang;

 8               3. Exhibits B and C to Declaration of Stephen P. Walker; and

 9               4. United States’ Memorandum in Support of Motion to Enforce the Decree

10          The Court does not seal case documents from public view without good cause. Being that

11 the CCI included in the above documents is necessary for the United States to pursue its Motion to

12 Enforce the Decree, the Court finds that unredacted versions of these documents should be filed

13 under seal. Further, the United States may file redacted versions of these documents on the public

14 docket. It is the practice of this Court to maintain case documents under seal until they are ordered

15 unsealed by the Court. Accordingly, the Court shall grant the United States’ request for an order to

16 file the above unredacted documents under seal and publicly file redacted versions. The Clerk of

17 Court shall be directed to file under seal the above unredacted documents submitted by the United

18 States until it is ordered unsealed by the Court.

19          Based on the foregoing, IT IS HEREBY ORDERED THAT:

20          1. The United States’ Request to Seal Documents is Granted; and

21          2. The Clerk of Court is DIRECTED to file under seal unredacted copies of the above

22               documents until it is ordered unsealed by the Court.

23

24 IT IS SO ORDERED.

25      Dated:     April 23, 2024
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                                   [PROPOSED] ORDER ON REQUEST TO SEAL
